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         Case 3:13-cr-03479-BTM                      Document 329               Filed 06/29/15             PageID.1454
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                                                                                                                                    Page 1 of 5
     "'AD 245B (CASO) (R,v.4114)    Judgment in a Criminal Case                                                                     FILED
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               Sheet 1
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                                              UNITED STATES DISTRICT COURT ~T1jERN         DISTfliCT OF C/ILlFOIINIA
                                                                                                             DEPUTY
                                                SOUTHERN DISTRICT OF CALIFORNIA      "
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                          ARTHUR GRIGORIAN                                         Case Number: 13CR3479-BTM
                                                                                   EUGENE HARRIS
                                                                                   Defendant's Attorney
     REGISTRATION NO. 66768112

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) ..:I...;O:.:F:....::.T:.:H=E..:IN:..;:.D.:.IC:..T:.:M=E:..:N.:.T_ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     0 was found guilty on count(s)I _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18USC371                             CONSPIRACY TO COMMIT MAIL FRAUD                                                                                I




        The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant

 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) REMAINING COUNTS IN THE INDICTMENT                               is 0     arel8l dismissed on the motion of the United States.
 181 Assessment: $100 to be paid at the rate of$25 per quarter fhrough the Inmate Financial Responsibility Program.

 181 Fine waived                                   0 Forfeiture pursuant to order filed                                       , included herein.
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              MAY4,2015
                                                                             Da" oflmposi.ion 0r:;;;~:



                                                                             ~DM~
                                                                             UNITED STATES DISTRICT JUDGE



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     Case 3:13-cr-03479-BTM                       Document 329           Filed 06/29/15           PageID.1455           Page 2 of 5
AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                                    Judgment - Page _....::.2_    of    5
 DEFENDANT: ARTHUR GRIGORIAN
 CASE NUMBER: 13CR3479-BTM
                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FIFTY-TWO (52) MONTHS.



     o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
     181 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant serve his sentence at an institution closest to Southern California that can care for his eyes.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                       Oa.m.       Op.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          181 before 12:00 pm on July 31, 2015 or to this Court by 2:00 pm on that same date.
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:

         Defendant delivered on                                                        to

at                                                      with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL


                                                                         By _______~~~~~~~~~-------
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                                 13CR3479-BTM
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AD 2458 (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        5
DEFENDANT: ARTHUR GRIGORIAN                                                                           a
CASE NUMBER: 13CR3479-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shal1 not commit another federal, state or local crime.
For offenses committed on or aflerSeptember 13,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --
D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC scctions 3563(a)(7) and 3583(d).
       The detendant shan comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ct seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shalt participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                       ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shalt not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shalt work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shalt refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shalt not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shalt not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notity third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR3479-BTM
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        AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment Page ----±...- of      5
        DEFENDANT: ARTHUR GRIGORIAN                                                                 D
        CASE NUMBER: 13CR3479-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
15(1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
IQl a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Make restitution to the Internal Revenue Service in the amount of $1,503,417.00, to be paid as set forth on page 5 of this Judgment.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking and credit accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within         days.
D Complete             hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally, make restitution and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.

181 The defendant shall notify the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notify the Collections Unit, United States Attorney's Office at least 10
    days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                      13CR3479-BTM
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AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:            ARTHUR GRIGORIAN [I]                                                   Judgment - Page 5 of 5
  CASE NUMBER:          13CR3479-BTM

                                            RESTITUTION


 The defendant shall pay restitution in the amount of  $1,503,417.00            unto the United States of America.
                                                       (Total Restitution)
 For the benefit ofInternal Revenue Service through the Clerk of Court




This sum shall be due immediately. The total restitution shall be paid as follows: Pay restitution in the
amount of $1,321 ,778.00 jointly and severally liable with codefendants Ernest SOLOIAN and Harout
GEVORGYAN; $57,011, jointly and severally liable with codefendants SOLOIAN, GEVORGYAN and
Yvonne MIHAILESCU; $37,861, jointly and severally liable with codefendants SOLOIAN,
GEVORGYAN and Yermek DOSSYMBEKOV; and $86,767, jointly and severally liable with
codefendants SOLOIAN, GEVORGYAN and Vyacheslav TSOY, to Internal Revenue Service (IRS)
through the Clerk, U. S. District Court. Payment of restitution shall be forthwith. During any period of
incarceration the defendant shall pay restitution through the Inmate Financial Responsibility Program at
the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall
pay the restitution during his supervised release at the rate of $400 per month. These payment schedules
do not foreclose the United States from exercising all legal actions, remedies, and process available to it to
collect the restitution judgment. The terms of the Final Restitution Order filed 09/18/2014, document
[248], are incorporated herein by reference.




 The Court has determined that the defendant     does not     have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                        13CR3479-BTM
